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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                            )
                                                      )
      Plaintiff,                                      )
                                                      )
 v.
                                                      )   No. 4:19-cr-00991-HEA
 RONDA EAMES,                                         )
                                                      )
      Defendant.                                      )
                                                      )

                                 GUILTY PLEA AGREEMENT

         Come now the parties and hereby agree, as follows:

1. PARTIES:

         The parties are the defendant Ronda Eames, represented by defense counsel Michelle

Monahan, and the United States of America (hereinafter "United States" or "Government"),

represented by the Office of the United States Attorney for the Eastern District of Missouri. This

agreement does not, and is not intended to, bind any governmental office or agency other than

the United States Attorney for the Eastern District of Missouri. The Court is neither a party to

nor bound by this agreement.

2. GUILTY PLEA:

         Pursuant to Rule 11(c)(1)(A), Federal Rules of Criminal Procedure, in exchange for the

defendant's voluntary plea of guilty to Counts 1-4 of the charge, the government agrees to move

for the dismissal as to the defendant of Counts 5-16 at the time of sentencing. Moreover, the

United States agrees that no further federal prosecution will be brought in this District relative to



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the defendant's bank fraud and identity theft during the time period alleged in the Indictment, of

which the Government is aware at this time.

        In addition, the parties agree that the U.S. Sentencing Guidelines Total Offense Level

analysis agreed to by the parties herein is the result of negotiation and led, in part, to the guilty

plea. The parties further agree that because the government has agreed to dismiss the remaining

Counts in the indictment and seek no further federal prosecution connected to the defendant’s

bank fraud and identity theft during the period of time charged in the Indictment, neither party

shall request a sentence above or below the U.S. Sentencing Guidelines range (combination of

Total Offense Level and Criminal History Category) ultimately determined by the Court

pursuant to any chapter of the Guidelines, Title 18, United States Code, Section 3553, or any

other provision or rule of law not addressed herein.

3. ELEMENTS:

        As to Counts 1-4, the defendant admits to knowingly violating Title 18, United States

Code, Section 1344, and admits there is a factual basis for the plea and further fully understands

that the elements of the crime are:

        One, the defendant knowingly executed and attempted to execute a scheme to obtain any

of the moneys, funds, credits, and property under the custody and control of a financial

institution(s) by means of material false or fraudulent representations;

        Two, the defendant did so with intent to defraud; and

        Three, the financial institution(s) was(were) insured by the Federal Deposit Insurance

Corporation.




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4. FACTS:

       The parties agree that the facts in this case are as follows and that the government would

prove these facts beyond a reasonable doubt if the case were to go to trial. These facts may be

considered as relevant conduct pursuant to Section 1B1.3:

       At all times relevant to the Indictment, Bank of America, Midland States Bank, BMO

Harris Bank, and Arvest Bank were financial institutions within the meaning of Title 18, United

States Code, Section 20, because they were financial institutions insured by the Federal Deposit

Insurance Corporation. In February of 2017, defendant RONDA EAMES took a position as a

Personal Banker at Midland States Bank located in Jefferson County, Missouri, in the Eastern

District of Missouri. On May 28, 2018, the defendant was promoted to the position of Assistant

Banking Center Manager at Midland States Bank in Jefferson County, Missouri, in the Eastern

District of Missouri. In her capacity as a Personal Banker and subsequently as Assistant Banking

Center Manager, the defendant had access to bank customers’ accounts and was responsible for

providing banking services to individual customers.

       In between June of 2018 and August of 2018, the defendant made multiple unauthorized

cash withdrawals from Midland States Bank customer accounts, all without the knowledge or

consent of the customers from whose accounts the defendant had withdrawn the funds. For each

of these withdrawals, the defendant forged a withdrawal slip that indicated that the customer had

approved and authorized the withdrawal from the customer’s account, when, in truth and fact,

the defendant had not informed the customer that she was making the withdrawal and had not

sought the customers’ authorization for those withdrawals. Specifically, on June 14, 2018, the

defendant forged a withdrawal slip falsely representing that Midland States Bank account holder


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“CJP” had authorized a withdrawal in the amount of $795.60, knowing that CJP had not

authorized the withdrawal. On July 5, 2018, August 17, 2017 and August 27, 2018, the

defendant further forged withdrawal slips in the name of account holder “FR” falsely

representing withdrawals of which FR was unaware. In total, the defendant made four

unauthorized withdrawals from Midland States Bank account holders, totaling $11,795.60. For

each of the unauthorized withdrawals the defendant made from Midland States Bank customer

accounts, the defendant personally retained the withdrawn funds, and neither informed the

customer of the withdrawal, nor returned the funds to the customer. In addition to this fraudulent

conduct, the defendant further caused losses to individual S.E. in the amount of $6,698.49.

5. STATUTORY PENALTIES:

       The defendant fully understands that the maximum possible penalty provided by law for

the crime to which the defendant is pleading guilty is imprisonment of not more than 30 years, a

fine of not more than $1,000,000, or both such imprisonment and fine. The Court may also

impose a period of supervised release of not more than five years.

6. U.S. SENTENCING GUIDELINES: 2018 MANUAL:

       The defendant understands that this offense is affected by the U.S. Sentencing Guidelines

and the actual sentencing range is determined by both the Total Offense Level and the Criminal

History Category. The parties agree that the following are the applicable U.S. Sentencing

Guidelines Total Offense Level provisions.

       a. Chapter 2 Offense Conduct:

       (1) Base Offense Level: The parties agree that the base offense level is 7, as found in

Section 2B1.1(a)(1).


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       (2) Specific Offense Characteristics: The parties agree that the following Specific

Offense Characteristics apply:

       The loss caused by the offense was more than $15,000 but not more than $40,000,

resulting in an offense level increase of 4. U.S.S.G. § 2B1.1(b)(1).

       The offense in question involve an abuse of a position of trust, resulting in an offense

level increase of 2. U.S.S.G. § 3B1.3.

       b. Chapter 3 Adjustments:

               (1) Acceptance of Responsibility: The parties agree that two levels should be

deducted pursuant to Section 3E1.1(a), because the defendant has clearly demonstrated

acceptance of responsibility. The parties agree that the defendant's eligibility for this deduction

is based upon information presently known. If subsequent to the taking of the guilty plea the

government receives new evidence of statements or conduct by the defendant which it believes

are inconsistent with defendant's eligibility for this deduction, the government may present said

evidence to the court, and argue that the defendant should not receive all or part of the deduction

pursuant to Section 3E1.1, without violating the plea agreement.

       d. Estimated Total Offense Level: The parties estimate that the Total Offense Level is

11.

       e. Criminal History: The determination of the defendant's Criminal History Category

shall be left to the Court. Either party may challenge, before and at sentencing, the finding of the

Presentence Report as to the defendant's criminal history and the applicable category. The

defendant's criminal history is known to the defendant and is substantially available in the

Pretrial Services Report.


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       f. Effect of Parties' U.S. Sentencing Guidelines Analysis: The parties agree that the

Court is not bound by the Guidelines analysis agreed to herein. The parties may not have

foreseen all applicable Guidelines. The Court may, in its discretion, apply or not apply any

Guideline despite the agreement herein and the parties shall not be permitted to withdraw from

the plea agreement.

7. WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

       a. Appeal: The defendant has been fully apprised by defense counsel of the defendant's

rights concerning appeal and fully understands the right to appeal the sentence under Title 18,

United States Code, Section 3742.

               (1) Non-Sentencing Issues: The parties waive all rights to appeal all non-

jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

motions, discovery, the guilty plea, the constitutionality of the statute(s) to which defendant is

pleading guilty and whether defendant’s conduct falls within the scope of the statute(s).

               (2) Sentencing Issues: In the event the Court accepts the plea, accepts the U.S.

Sentencing Guidelines Total Offense Level agreed to herein, and, after determining a Sentencing

Guidelines range, sentences the defendant within or below that range, then, as part of this

agreement, the defendant hereby waives all rights to appeal all sentencing issues other than

Criminal History, but only if it affects the Base Offense Level or Criminal History Category.

Similarly, the Government hereby waives all rights to appeal all sentencing issues other than

Criminal History, provided the Court accepts the plea, the agreed Total Offense Level and

sentences the defendant within or above that range.




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       b. Habeas Corpus: The defendant agrees to waive all rights to contest the conviction or

sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of

counsel.

       c. Right to Records: The defendant waives all rights, whether asserted directly or by a

representative, to request from any department or agency of the United States any records

pertaining to the investigation or prosecution of this case, including any records that may be

sought under the Freedom of Information Act, Title 5, United States Code, Section 522, or the

Privacy Act, Title 5, United States Code, Section 552(a).

8. OTHER:

       a. Disclosures Required by the United States Probation Office: The defendant agrees

to truthfully complete and sign forms as required by the United States Probation Office prior to

sentencing and consents to the release of these forms and any supporting documentation by the

United States Probation Office to the government.

       b. Civil or Administrative Actions not Barred; Effect on Other Governmental

Agencies: Nothing contained herein limits the rights and authority of the United States to take

any civil, tax, immigration/deportation or administrative action against the defendant.

       c. Supervised Release: Pursuant to any supervised release term, the Court will impose

standard conditions upon the defendant and may impose special conditions related to the crime

defendant committed.    These conditions will be restrictions on the defendant to which the

defendant will be required to adhere. Violation of the conditions of supervised release resulting

in revocation may require the defendant to serve a term of imprisonment equal to the length of


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the term of supervised release, but not greater than the term set forth in Title 18, United States

Code, Section 3583(e)(3), without credit for the time served after release. The defendant

understands that parole has been abolished

       d. Mandatory Special Assessment: Pursuant to Title 18, United States Code, Section

3013, the Court is required to impose a mandatory special assessment of $100 per count for a

total of $400, which the defendant agrees to pay at the time of sentencing. Money paid by the

defendant toward any restitution or fine imposed by the Court shall be first used to pay any

unpaid mandatory special assessment.

       e. Possibility of Detention: The defendant may be subject to immediate detention

pursuant to the provisions of Title 18, United States Code, Section 3143.

       f. Fines, Restitution and Costs of Incarceration and Supervision: The Court may

impose a fine, restitution (in addition to any penalty authorized by law), costs of incarceration

and costs of supervision. The defendant agrees that any fine or restitution imposed by the Court

will be due and payable immediately. Pursuant to Title 18, United States Code, Section 3663A,

an order of restitution is mandatory for all crimes listed in Section 3663A(c). Regardless of the

Count of conviction, the amount of mandatory restitution imposed shall include all amounts

allowed by Section 3663A(b) and the amount of loss agreed to by the parties, including all

relevant conduct loss. The defendant agrees to provide full restitution to all victims of all

charges in the indictment.

       g. Forfeiture: The defendant knowingly and voluntarily waives any right, title, and

interest in all items seized by law enforcement officials during the course of their investigation,

whether or not they are subject to forfeiture, and agrees not to contest the vesting of title of such


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items in the United States. The defendant agrees that said items may be disposed of by law

enforcement officials in any manner.

9. ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:

        In pleading guilty, the defendant acknowledges, fully understands and hereby waives his

rights, including but not limited to: the right to plead not guilty to the charges; the right to be

tried by a jury in a public and speedy trial; the right to file pretrial motions, including motions to

suppress or exclude evidence; the right at such trial to a presumption of innocence; the right to

require the government to prove the elements of the offenses against the defendant beyond a

reasonable doubt; the right not to testify; the right not to present any evidence; the right to be

protected from compelled self-incrimination; the right at trial to confront and cross-examine

adverse witnesses; the right to testify and present evidence and the right to compel the attendance

of witnesses. The defendant further understands that by this guilty plea, the defendant expressly

waives all the rights set forth in this paragraph.

        The defendant fully understands that the defendant has the right to be represented by

counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of

the proceeding. The defendant's counsel has explained these rights and the consequences of the

waiver of these rights. The defendant fully understands that, as a result of the guilty plea, no trial

will, in fact, occur and that the only action remaining to be taken in this case is the imposition of

the sentence.

        The defendant is fully satisfied with the representation received from defense counsel.

The defendant has reviewed the government's evidence and discussed the government's case and

all possible defenses and defense witnesses with defense counsel. Defense counsel has


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completely and satisfactorily explored all areas which the defendant has requested relative to the

government's case and any defenses.

       The guilty plea could impact defendant's immigration status or result in deportation. In

particular, if any crime to which defendant is pleading guilty is an "aggravated felony" as defined

by Title 8, United States Code, Section 1101(a)(43), removal or deportation is presumed

mandatory. Defense counsel has advised the defendant of the possible immigration

consequences, including deportation, resulting from the plea.

10. VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

       This document constitutes the entire agreement between the defendant and the

government, and no other promises or inducements have been made, directly or indirectly, by

any agent of the government, including any Department of Justice attorney, concerning any plea

to be entered in this case. In addition, the defendant states that no person has, directly or

indirectly, threatened or coerced the defendant to do or refrain from doing anything in

connection with any aspect of this case, including entering a plea of guilty.

       The defendant acknowledges having voluntarily entered into both the plea agreement and

the guilty plea. The defendant further acknowledges that this guilty plea is made of the

defendant's own free will and that the defendant is, in fact, guilty.

11. CONSEQUENCES OF POST-PLEA MISCONDUCT:

       After pleading guilty and before sentencing, if defendant commits any crime, other than

minor traffic offenses, violates any condition of release that results in revocation, violates any

term of this guilty plea agreement, intentionally provides misleading, incomplete or untruthful

information to the U.S. Probation Office or fails to appear for sentencing, the United States, at its


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option, may be released from its obligations under this agreement. The Government may also, in

its discretion, proceed with this agreement and may advocate for any sentencing position

supported by the facts, including but not limited to obstruction of justice and denial of

acceptance of responsibility.

12. NO RIGHT TO WITHDRAW GUILTY PLEA:

       Pursuant to Rule 11(c) and (d), Federal Rules of Criminal Procedure, the defendant

understands that there will be no right to withdraw the plea entered under this agreement, except

where the Court rejects those portions of the plea agreement which deal with charges the

government agrees to dismiss or not to bring.




__________________                                    ____________________________________
      Date                                            Gwendolyn Carroll
                                                      Assistant United States Attorney



__________________                                    ____________________________________
      Date                                            Ronda Eames
                                                      Defendant


__________________                                    ____________________________________
      Date                                            Michelle Monahan
                                                      Attorney for Defendant




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                                                                                 Digitally signed by GWENDOLYN
                                                          GWENDOLYN CARROLL      CARROLL
                                                                                 Date: 2021.05.07 11:32:13 -05'00'

             Date                                         Gwendolyn Carroll
                                                          Assistant United States Attorney




                                                                           (foAriM-
             Date                                         Ronda Eames
                                                          Defendant




                                                          Miche e Monahan
                                                          Attorney for Defendant




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